            Case 1:24-cv-01473-TAM Document 4 Filed 02/28/24 Page 1 of 2 PageID #: 29

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                    ROBERTA FULTON                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 23-cv-1473 TAM
                                                                     )
  11-27 FLATBUSH AVENUE LLC AND FLATBUSH                             )
           CONVENIENCE DELI CORP.                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 11-27 FLATBUSH AVENUE LLC
                                           c/o AVERY MANAGEMENT
                                           PO BOX 387
                                           Suffen, New York 10901




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Glen H. Parker, Esq.,
                                           Parker Hanski LLC
                                           40 Worth Street, Suite 602
                                           New York, New York 10013
                                           (T) 212-248-7400 ext. 15 and (F) 212-248-5600
                                           ghp@parkerhanski.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT

           2/28/2024                                                            s/Kimberly Davis
Date:
                                                                                           Signature of Clerk or Deputy Clerk
            Case 1:24-cv-01473-TAM Document 4 Filed 02/28/24 Page 2 of 2 PageID #: 30

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                    ROBERTA FULTON                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                v.
                                                                     )
                                                                             Civil Action No.    24-cv-1473 TAM
                                                                     )
  11-27 FLATBUSH AVENUE LLC AND FLATBUSH                             )
           CONVENIENCE DELI CORP.                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FLATBUSH CONVENIENCE DELI CORP.
                                           21 FLATBUSH AVENUE
                                           BROOKLYN, New York 11217




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT

                                                                                  s/Kimberly Davis
Date:     2/28/2024
                                                                                           Signature of Clerk or Deputy Clerk
